Case 21-01472-JNP   Doc 1-1 Filed 11/09/21 Entered 11/09/21 18:42:11   Desc
                           Exhibit A Page 1 of 4
Case 21-01472-JNP   Doc 1-1 Filed 11/09/21 Entered 11/09/21 18:42:11   Desc
                           Exhibit A Page 2 of 4
Case 21-01472-JNP   Doc 1-1 Filed 11/09/21 Entered 11/09/21 18:42:11   Desc
                           Exhibit A Page 3 of 4
Case 21-01472-JNP   Doc 1-1 Filed 11/09/21 Entered 11/09/21 18:42:11   Desc
                           Exhibit A Page 4 of 4
